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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                           Chapter 11

SAMSON RESOURCES CORPORATION, et                 Case No. 15-11934 (BLS)
al.,                                             (Jointly Administered)

                     Debtors.

PETER KRAVITZ, as Settlement Trustee of
and on behalf of the SAMSON
SETTLEMENT TRUST,
                                                 Adv. Pro. No. 17-51524 (BLS)
                     Plaintiff,

v.

SAMSON ENERGY COMPANY, LLC, et al.

                     Defendants.


   MEMORANDUM IN SUPPORT OF SAMSON DEFENDANTS’ MOTION FOR
 PARTIAL SUMMARY JUDGMENT UNDER BANKRUPTCY CODE SECTION 546(e)


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        Pursuant to Federal Rule of Civil Procedure 56(a), made applicable by Federal Rule of

Bankruptcy Procedure 7056, and Local Rule 7007-1, the remaining Defendants1 submit this

memorandum of law, together with the concurrently filed Second Supplemental Declaration of

Shane Randolph (the “Supplemental Randolph Declaration”) and the Second Supplemental

Declaration of Samuel M. Kidder (the “Supplemental Kidder Declaration”), in support of their

motion for partial summary judgment (the “Motion”) under Bankruptcy Code section 546(e). In

addition, Defendants rely on the Declaration of Shane Randolph [Docket No. 196] (the “Initial

Randolph Declaration”) and the Declaration of Samuel M. Kidder [Docket No. 197] (the “Initial

Kidder Declaration”) filed on March 9, 2020 in support of the Samson Defendants’ Motion for

Summary Judgment Under Bankruptcy Code Section 546(e) [Docket No. 193] (the “Initial

Motion”).

                  I. INTRODUCTION AND SUMMARY OF ARGUMENT

        On December 23, 2020, the Court issued its Opinion2 on the Initial Motion. The Initial

Motion sought summary judgment in Defendants’ favor on all remaining counts asserted in the

Complaint on the grounds that all of the Debtor-transferors were “financial participants” and thus

all challenged transfers made by them were safe-harbored by Bankruptcy Code section 546(e).

        The Court granted summary judgment in favor of the Defendants on the key issue in

dispute: whether a debtor can be a financial participant within the meaning of section 101(22A).


1
    The Court granted summary judgment as to two Defendants: Stacy Family Delaware Trust and
    Schusterman 2008 Delaware Trust. Order Granting in Part and Denying in Part Moving
    Defendants’ Motion for Summary Judgment [Docket No. 86]. Filings in this adversary proceeding
    are referred to as “Docket No. __.” Filings in the main bankruptcy case are referred to as “Bankr.
    Docket No. __.” Capitalized terms used but not otherwise defined herein shall have the meaning
    ascribed to them in the Complaint [Docket No. 8].
2
    The “Opinion” refers to the Opinion Regarding Cross-Motions for Summary Judgment Under 11
    U.S.C. § 546(e) [Docket No. 292]. Subsequent pin cite references to the Opinion are to the published
    version, Kravitz v. Samson Energy Co. (In re Samson Res. Corp.), 625 B.R. 291 (Bankr. D. Del.
    2020). The term “Order” refers to the order thereon [Docket No. 294].



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See 625 B.R. at 301; Order ¶ 1. The Court left open the question whether Samson Investment

Company (“Samson Investment”) or any of the other Debtor-transferors met the statutory

threshold to qualify as financial participants, primarily because the Trustee stated that he lacked

certain data necessary to “verify whether Mr. Randolph’s calculations (or methodology) are

correct or incorrect.” See 625 B.R. at 303.

        The Trustee has now had the opportunity to probe Mr. Randolph’s calculations and

methodology. Following the Opinion, the parties engaged in expert discovery. Mr. Randolph

submitted an expert report and was deposed by the Trustee. Expert discovery having concluded,

it is now clear that there is no genuine dispute as to whether Samson Investment held swap

agreements in the requisite amount to fit within the definition of financial participant, with the

result that all transfers made by Samson Investment are immunized from avoidance under

section 546(e).

        This Motion is narrower than the Initial Motion. Pursuant to the Scheduling Order, this

Motion is limited to the question whether Samson Investment – and not any of the other Debtor-

transferors – is a financial participant.3 It is built on two simple propositions, which together

establish that the transfers by Samson Investment alleged in the Complaint fall into section

546(e)’s safe harbor.

        First, Samson Investment was a “financial participant” as that term is defined in section

101(22A). Samson Investment was directly a party to Qualifying Transactions (as defined

below) that, as of the Petition Date and on August 31, 2015 (i.e., a “day during the 15-month

period preceding the” Petition Date, 11 U.S.C. § 101(22A(A))), met the statutory threshold of



3
    See Docket No. 340 ¶ 2(d). Whether Debtors other than Samson Investment are financial participants
    by virtue of their guarantees of Samson Investment’s swap agreements is not before the Court on this
    Motion.



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section 101(22A)(A). Specifically, as of such dates Samson Investment held commodity swaps

and commodity options with gross mark-to-market positions of not less than $100,000,000. See

Part IV.B, infra. Neither the Trustee nor his retained expert has provided any evidence to the

contrary. See Part II.B, infra.

        Second, the Redemption Cash Transfer (as defined below) made by Samson Investment4

was made “in connection with a securities contract” that was “made before the commencement

of” the bankruptcy case. 11 U.S.C. § 546(e). The transfer was made on December 21, 2011, in

connection with the SPA,5 which is indisputably a “securities contract.” See Part IV.C, infra.

        There are no material factual disputes as to either of these propositions. Each Defendant

is alleged either to have received an avoidable transfer from Samson Investment or to be a

downstream transferee of such a transfer.6 The Court should enter partial summary judgment in

favor of all Defendants on the issue whether Samson Investment is a financial participant, based

on Defendants’ Ninth Specific and Affirmative Defense, with the result that Redemption Cash

Transfer is not avoidable. See Samson Defendants’ Answer and Specific Defenses [Docket No.

80] at 27.




4
    Defendants also contend that Samson Investment was the functional transferor of the Asset Transfers
    (as defined in the Initial Memorandum). See Initial Memorandum at 10–13. The Court disagreed
    with Defendants’ position, see 625 B.R. at 296 n.11, and Defendants do not seek to re-litigate that
    question in connection with the instant Motion. If the Court determines that Samson Investment is a
    financial participant and it is ultimately determined that Samson Investment was the transferor with
    respect to the Asset Transfers, those transfers, too, would be safe-harbored under section 546(e).
5
    “SPA” refers to the Stock Purchase Agreement, dated as of November 22, 2011, among SRC, Samson
    Investment, and the Selling Shareholders (each as defined below). The SPA is referred to as the
    “Stock Purchase Agreement” in the Complaint.
6
    Certain of the Defendants have today moved for summary judgment pursuant to the Motion of
    [Certain Defendants] for Summary Judgment (the “Release and Non-Transferee MSJ”). If that
    motion and this one are granted, the Foundation and Samson Energy will be the only Defendants
    remaining in the case, with the Foundation’s potential exposure being reduced to the $1.145 billion
    transferred to it by SRC (as defined below). See also note 33.



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                        II. RELEVANT PROCEDURAL BACKGROUND

A.       The Initial Motion and Opinion

         Given the time that has passed since the Court issued the Opinion, a brief review of the

proceedings that culminated in the Opinion is useful.

         The Initial Motion sought summary judgment in Defendants’ favor on all remaining

counts in the Complaint because all of the Debtor-transferors were financial participants within

the meaning of Bankruptcy Code section 101(22A) and thus any transfers by them are safe-

harbored under Bankruptcy Code section 546(e). See, e.g., Initial Memorandum7 at 2–4. Like

the instant Motion, the Initial Motion contended that Samson Investment was a financial

participant because it was the counterparty to commodity swaps and commodity options with

gross mark-to-market value in excess of $100 million as of the Petition Date (or, alternatively, as

of August 31, 2015). See Initial Memorandum at 13–22. On this point, Defendants relied on the

Initial Randolph Declaration, which established the value of Samson Investment’s positions as of

each of those two dates. See id. (citing Initial Randolph Declaration ¶¶ 37–38).8

         The Trustee opposed the Initial Motion primarily on legal grounds. Specifically, the

Trustee disputed that the debtor itself can be a financial participant within the meaning of section

101(22A). See Docket No. 208 (“Trustee Opposition”) ¶¶ 24–34. The Trustee also argued that

the “time of the transfers” – not the Petition Date or August 31, 2015 – was the appropriate

measurement date for determining financial participant status. Id. ¶¶ 35–40. In addition to these

legal arguments, the Trustee raised certain procedural and evidentiary complaints about the


7
     The “Initial Memorandum” refers to the Memorandum in Support of Samson Defendants’ Motion for
     Summary Judgment Under Bankruptcy Code Section 546(e) [Docket No. 194].
8
     The Initial Motion also asserted that all of the other Debtor-transferors were also financial
     participants by virtue of their guarantees of Samson Investment’s swap obligations. See id. at 22–27
     (citing, inter alia, 11 U.S.C. § 101(53B)(A)(vi)). Pursuant to the agreed Scheduling Order,
     Defendants do not reprise that argument here, but preserve it for trial.



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Initial Motion and the Initial Randolph Declaration. The Trustee contended that he did not have

sufficient time and/or information to test the veracity of Mr. Randolph’s calculations. Id. ¶¶ 47–

52.9

        On December 23, 2020, the Court issued the Opinion. The Court agreed with Defendants

on the key legal question in the Initial Motion, “conclud[ing] that the plain text and structure of

the Code’s definition of financial participant does not exclude debtors.” 625 B.R. at 301. The

Court held, however, that issues of fact may have remained as to whether Samson Investment

had Qualifying Transactions in the requisite amount to be a financial participant. Id. at 301–03.

Specifically, the Court gave credence to two evidentiary concerns raised by the Trustee:

               “[T]he Trustee argues that Mr. Randolph’s declarations do not contain the
                factual information necessary to support the Summary Judgment Motion.
                The Trustee claims that, without seeing the calculations underlying Mr.
                Randolph’s assessment, he cannot determine (i) the volume of open
                positions Mr. Randolph used to value each contract for the September 16,
                2015 and August 31, 2015 mark-to-market positions, (ii) the market prices
                Mr. Randolph used to ascertain the mark-to-market position in each
                contract, and (iii) the LIBOR rate Mr. Randolph used as the risk-free rate
                in determining the mark-to-market positions. Without this information,
                the Trustee argues that he cannot verify whether Mr. Randolph’s
                calculations (or methodology) are correct or incorrect.” Id. at 302–03.

               “The Trustee further argues that the Samson Defendants have not
                authenticated the ‘hedge books’ used by Mr. Randolph.” Id. at 303.

        For these reasons (and only these reasons), the Court concluded that the record before it

was incomplete and held that “[t]he Trustee is entitled to depose Mr. Randolph and probe his

calculations and his conclusions.” Id.




9
    The Trustee also cross-moved for summary judgment in his favor on Defendants’ safe harbor
    affirmative defense based on the same facts and arguments set forth in opposition to the Initial
    Motion. See Docket No. 207.



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B.       Discovery Confirms There is No Genuine Dispute That Samson Investment is a
         Financial Participant

         Mr. Randolph prepared an expert report (the “Randolph Expert Report”) dated July 27,

2021. See Supp. Randolph Decl. ¶ 3. The Randolph Expert Report employed the same analysis

and reached the same conclusions as the Initial Randolph Declaration, and included all of the

backup data the Trustee asserted should have been included in the Initial Randolph Declaration.

Id. ¶¶ 3–4.10

         The Trustee retained an expert witness, Richard Grove, to rebut the Randolph Expert

Report. Critically, Mr. Grove’s report did not in any way challenge Mr. Randolph’s conclusions

regarding the value of Samson Investment’s hedge positions as of the Petition Date and as of

August 31, 2015.11 Instead, Mr. Grove limited his report to two discrete (and, in Defendants’

view, unfounded) critiques of Mr. Randolph’s conclusions regarding the value of Samson

Investment’s positions as of December 21, 2011 (the “Transfer Date”) – a date that is not

relevant under section 101(22A). Mr. Grove confirmed in his recent deposition that he has no

opinion regarding the value of the Petition Date Positions as of the Petition Date or August 31,

2015.12 He further confirmed that any opinion regarding “Mr. Randolph’s conclusions about

values as of the [P]etition [D]ate and August 31, 2015, would be outside the scope of [Mr.




10
     The Randolph Expert Report also included, in the interest of completeness, calculations
     demonstrating that Samson Investment met the financial participant thresholds as of the “transfer
     date” (even though Defendants contend that date is not relevant), consistent with the [First]
     Supplemental Declaration of Shane Randolph [Docket No. 215] filed in response to the Trustee’s
     cross-motion. Those computations are not relevant to this Motion.
11
     See Feb. 25, 2022 Grove Dep. Tr. (“Grove Transcript”) at 60:19–23 (Mr. Grove’s agreement that his
     report “does not express any opinion regarding Mr. Randolph’s conclusion about the gross mark-to-
     market value of [P]etition [D]ate positions as of the [P]etition [D]ate”) & 64:4–8 (same regarding Mr.
     Randolph’s conclusions as of August 31, 2015). Relevant excerpts of the Grove Transcript are
     attached as Exhibit S105 to the Supplemental Kidder Declaration.
12
     See id. at 60:24–61:25 (Petition Date) & 64:16–19 (August 31, 2015).



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Grove’s] report.”13 When pressed, Mr. Grove declined, per his counsel’s instructions, to provide

any opinion as to Mr. Randolph’s conclusions regarding the Petition Date Positions.14 As a

result, Mr. Randolph’s calculations of the values of Samson Investment’s Petition Date

Positions, both as of the Petition Date and August 31, 2015, are not in genuine (or any) dispute.

         Although Mr. Grove does not challenge Mr. Randolph’s calculations as of the Petition

Date and as of August 31, 2015, his report does take issue with Mr. Randolph’s methodology for

determining the gross mark-to-market value of Samson Investment’s swap agreements as of the

Transfer Date. See generally id. at 210:21–212:10; see also Supp. Randolph Decl. ¶¶ 13–14

(summarizing dispute as to methodology). That dispute is academic for purposes of this Motion,

because (i) the Transfer Date is irrelevant for the reasons set forth below, and (ii) on the Petition

Date and on August 31, 2015, the gross mark-to-market value of the Petition Date Positions

exceeds the statutory threshold (i.e., $100 million) even if Mr. Grove’s methodology is utilized.

See Supp. Randolph Decl. ¶ 14 & Exs. S103 & S104. That is presumably why Mr. Grove’s

report is silent as to the gross mark-to-market value of the Petition Date Positions.

         The Trustee has now had ample opportunity to probe Mr. Randolph’s methodology and

calculations through expert discovery. The only error the Trustee has found is a minor

calculation issue with respect to Samson Investment’s “extendible option” transactions (the

“Extendible Options”), which Mr. Randolph addressed and resolved through a March 2, 2022

supplement to his expert report. See Supp. Randolph Decl. ¶¶ 5–6. That issue had a total impact

of just $41,866 in gross mark-to-market value as of the Petition Date and $66,352 in gross mark-

to-market value as of August 31, 2015, see id. ¶ 6 – amounts that are not material to the financial



13
     Id. at 67:15–19.
14
     See id. at 64:21–66:24.



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participant threshold.

         In sum, with all fact and expert discovery now concluded, the Trustee has not disputed

Mr. Randolph’s conclusion that Samson Investment met the financial participant threshold as of

both the Petition Date and as of August 31, 2015. It is, therefore, appropriate for the Court to

address the narrow issues left open in the Opinion and hold that Samson Investment is indeed a

financial participant and all transfers by it are unavoidable.

                          III. STATEMENT OF UNDISPUTED FACTS

         In accordance with Local Rule 7007-2(b)(i)(E), Defendants set forth the following as the

undisputed facts supporting relief.

         1.      Two of the Debtors, Samson Investment and Samson Resources Corporation, f/k/a

                 Tulip Acquisition Corporation (“SRC”), made cash transfers in the total amount

                 of $6,316,361,770 to Defendants SFT (Delaware) Management, LLC

                 (“SFTDM”),15 ST 2008 (Delaware) Management, LLC (“ST 2008”), and the

                 Foundation (collectively, the Foundation, SFTDM, and ST 2008 are referred to as

                 the “Selling Shareholders”). Samson Investment was the transferor of $2.75

                 billion to redeem shares of its stock held by the Selling Shareholders (the

                 “Redemption Cash Transfer”). Complaint ¶¶ 48 & 110; see also Declaration of

                 Jeremy Rabinowitz in Support of the Samson Defendants’ Motion to Dismiss

                 [Docket No. 22] (“Rabinowitz Declaration”) ¶¶ 7 & 8. SRC was the transferor of

                 $3,566,361,770 to purchase shares of Samson Investment stock held by the



15
     SFT (Delaware) Management, LLC is referred to in the Complaint as “SFT,” but that term risks
     confusion with co-defendant Stacy Family Trust (undefined in the Complaint), and thus the entity is
     referred to herein and in the Release and Non-Transferee MSJ as SFTDM. ST 2008 (Delaware)
     Management, LLC is referred to in the Complaint as “ST,” but for clarity is referred to herein and in
     the Release and Non-Transferee MSJ as “ST 2008.”



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      Selling Shareholders (the “SRC Cash Transfer” and, together with the

      Redemption Cash Transfer, the “Cash Transfers”). Complaint ¶¶ 2 & 110;

      Rabinowitz Decl. ¶¶ 11 & 12.

2.    The Cash Transfers were made in order to carry out the parties’ promises in the

      SPA dated as of November 22, 2011, which is a securities contract. The SPA

      provides in Recital C, “The Selling Shareholders desire to sell to Purchaser, and

      Purchaser desires to purchase from the Selling Shareholders, [206,323,203 shares

      of Samson Investment’s common stock].” Sections 2.1 and 2.2 of the SPA

      contain the parties’ promises to sell the Shares upon a defined date (the

      “Closing”) in consideration of the “Cash Transfers.” Complaint ¶¶ 2 & 110;

      Rabinowitz Decl. ¶¶ 5, 6, 7, 8, 11 & 12.

3.    The Debtors commenced their chapter 11 cases on September 16, 2015 (the

      “Petition Date”). Complaint ¶ 103.

4.    The Debtors were “an independent oil and gas company focused on the

      exploration, development, and production of natural gas and oil.” Disclosure

      Statement [Etc.] [Bankr. Docket No. 1884] (“Disclosure Statement”) at 5. Like

      other companies in that sector, “the Debtors routinely entered into hedging

      arrangements with certain counterparties to provide partial protection against

      declines in oil and natural gas prices.” Id. at 35. “[S]uch hedging arrangements




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                 often took the form of oil and natural gas price collars[16] and swap

                 agreements[17].” Disclosure Statement at 35; see also Initial Randolph Decl. ¶ 18.

         5.      At all times pertinent to this Motion, Samson Investment’s swap agreements

                 consisted of commodity swaps and commodity options. Initial Randolph Decl.

                 ¶¶ 18 & 20.

         6.      “As of the Petition Date, the hedges were in the Debtors’ favor in an aggregate

                 amount of approximately $105 million.” Disclosure Statement at 35; accord

                 Declaration of Phillip Cook in Support of Chapter 11 Petitions and First Day

                 Motions [Bankr. Docket No. 2] (“Cook Declaration”) ¶ 54; see also Initial

                 Randolph Decl. ¶ 38; Supp. Randolph Decl. ¶ 7.

         7.      As of the Petition Date, Samson Investment had gross mark-to-market positions in

                 commodity swaps and commodity options of a value of $123,425,972. Supp.

                 Randolph Decl. ¶ 7.18 Even using the methodology espoused by Mr. Grove, the

                 gross mark-to-market value of Samson Investment’s commodity swaps and

                 commodity options was $112,012,097 as of the Petition Date. Supp. Randolph

                 Decl. ¶ 14.

         8.      As of August 31, 2015 (i.e., a date within 15 months before the Petition Date),

                 Samson Investment had gross mark-to-market positions in commodity swaps and




16
     A “price collar” is a combination of commodity options. See Initial Randolph Decl. ¶ 16.
17
     For purposes of this Motion, the term “swap agreement” is used as defined in the Bankruptcy Code
     and thus includes, inter alia, “commodity swaps” and “commodity options,” 11 U.S.C.
     § 101(53B)(A)(i)(VII), and “any combination” of the foregoing, id. § 101(53B)(A)(iii).
18
     This figure is $41,866 lower than the corresponding amount in the Initial Randolph Declaration. See
     Initial Randolph Decl. ¶ 36. The difference is attributable to Mr. Randolph’s updated calculations
     with respect to the Extendible Options. See Supp. Randolph Decl. ¶¶ 6–7.



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                 commodity options of a value of $120,375,991. Id. ¶ 7.19 Even using the

                 methodology espoused by the Trustee’s expert, the gross mark-to-market value of

                 Samson Investment’s commodity swaps and commodity options was

                 $109,674,680 as of August 31, 2015. Supp. Randolph Decl. ¶ 14.

                                           IV. ARGUMENT

A.       Applicable Legal Standard

         Pursuant to Rule 56 of the Federal Rules of Civil Procedure (made applicable by Rule

7056 of the Federal Rules of Bankruptcy Procedure), summary judgment should be granted if

there is no genuine issue as to any material fact and the movant is entitled to judgment as a

matter of law. See Opinion, 625 B.R. at 297 (surveying and quoting controlling authority).

B.       Samson Investment Was a Financial Participant

         1.      Definition of “Financial Participant”

         As the Opinion held:

                 The definition of financial participant found in Bankruptcy Code § 101(22A) can
                 be broken down as follows:

                 [A]     any entity that

                 [B.1] at the time it enters into a securities contract …

                         OR

                 [B.2] at the time of the date of the filing of the petition,

                 [C]     has one or more agreements or transactions described in § 561(a)
                         [including swap agreements][20]

                 [D]     with the debtor or any other entity (other than an affiliate)



19
     This figure is $66,352 lower than the corresponding amount in the Initial Randolph Declaration. See
     Initial Randolph Decl. ¶ 37. The difference is attributable to Mr. Randolph’s updated calculations
     with respect to the Extendible Options. See Supp. Randolph Decl. ¶¶ 6–7.
20
     Collectively, such agreements or transactions are referred to herein as “Qualifying Transactions.”



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                 [E.1] of a total gross dollar value of not less than $1,000,000,000 in
                       notional or actual principal amount outstanding (aggregated across
                       counterparties) …

                          OR

                 [E.2] has gross mark-to-market positions of not less than $100,000,000
                       (aggregated across counterparties) in one or more such agreements
                       or transactions with the debtor or any other entity (other than an
                       affiliate) …

                 [E.3] at such time [see B.1 or B.2 above] OR on any day during the 15-
                       month period preceding the date of the filing of the petition.

625 B.R. at 298–99 (citing 11 U.S.C. § 101(22A)(A)).21

         2.      Samson Investment Was an “Entity”

         Samson Investment was a corporation.22 A corporation is an entity. 11 U.S.C.

§§ 101(15) & (41). As a matter of plain text, that ends the inquiry. The Trustee, however,

contended in his opposition to the Initial Motion that “debtors cannot be ‘financial

participants.’” Trustee Opp. ¶ 24. Following extensive briefing and oral argument on this issue,

the Court rejected the Trustee’s argument and held that, as a matter of law, a debtor can be a

financial participant for purposes of sections 101(22A) and 546(e). See 625 B.R. at 301.

Accordingly, Samson Investment qualifies as an “entity” for purposes of the safe harbor.

         3.      Samson Investment Had Qualifying Transactions on the Petition Date and/or
                 within 15 months Prior to the Petition Date

         Section 101(22A) entails three questions that determine whether an entity is a financial

participant. The first is whether the entity had Qualifying Transactions (i.e., element “[C]” of

the definition quoted above). The second is whether it had those Qualifying Transactions on a




21
     The Court added the bracketed letters, which do not appear in the statute, for clarity.
22
     See Voluntary Petition [Docket No. 1], Bankr. Case No. 15-11940.



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relevant date (i.e., elements [B], and [E.3]) . The third is whether the Qualifying Transactions

met a relevant dollar threshold as of such date (i.e., element [E.2]).

               a.      Nature of Qualifying Transactions

       On the first question, section 101(22A) includes “swap agreements” within the class of

Qualifying Transactions. The section cross-references section 561(5), which in turn relies on

section 101(53B)(A). Section 101(53B)(A) defines “swap agreements” to include, inter alia,

“any agreement, including the terms and conditions incorporated by reference in such

agreement, which is … a commodity swap, option, future, or forward agreement.” 11 U.S.C.

§ 101(53B)(A)(i)(VII).

       The Qualifying Transactions to which Samson Investment was party were commodity

swaps and commodity options. Initial Randolph Decl. ¶¶ 18 & 20. Accordingly, Samson

Investment’s Qualifying Transactions were all “swap agreements” within the meaning of section

101(53B)(A). The Trustee did not dispute this point in connection with the Initial Motion.

               b.      Measurement Date of Qualifying Transactions

       Among the alternatives for the applicable measurement date are “the date of the filing of

the petition” and “any day during the 15-month period preceding the date of the filing of the

petition ….” 11 U.S.C. § 101(22A)(A).

       The Initial Randolph Declaration assessed the relevant dollar amounts of Samson

Investment’s Qualifying Transactions on September 16, 2015 (the Petition Date) and August 31,

2015 (a date within the 15 months preceding the Petition Date). Initial Randolph Decl. ¶¶ 36–

37. Under the plain language of the statute, both of those dates are appropriate dates on which

to measure the value of Samson Investment’s Qualifying Transactions.

       The Trustee has taken the position, however, that the safe harbor applies only if the

applicable entity had Qualifying Transactions in excess of the statutory threshold as of the date


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of the transfer sought to be avoided (i.e., the Transfer Date). See, e.g., Trustee Opp. ¶ 36.

Defendants explained in their opposition to the Trustee’s cross-motion for summary judgment

why the Transfer Date is not an appropriate measurement date at all, much less the only

appropriate measurement date. See Samson Defendants’ Opposition to Trustee’s Cross-Motion

for Summary Judgment [Etc.] [Docket No. 214] at 3–8. In short, the Trustee’s “Transfer Date”

theory is directly contrary to the text of the Bankruptcy Code, which defines a “financial

participant” as “an entity that, [1] at the time it enters into a securities contract … or [2] at the

time of the date of the filing of the petition, has one or more [swap agreements meeting

applicable dollar thresholds] … at such time or [3] on any day during the 15-month period

preceding the date of the filing of the petition.” 11 U.S.C. § 101(22A) (emphasis added). The

statute is written in the disjunctive, so any of the three dates will suffice.

        The Court noted that the statute “clearly” sets forth three dates in the disjunctive –

referring to the question whether requisite amounts existed on the Transfer Date as a “moot”

issue, in light of the Defendants’ proof concerning “the dates in the statute:”

                The Trustee argues that the Samson Defendants must prove that Samson
                Investment had the agreements or transactions in the required amounts on
                the date of the transfers at issue. The language of § 101(22A) clearly sets
                forth three dates for measuring the amounts of [Qualifying Transactions]:
                at the time the entity enters into an agreement or transaction, or (ii) the
                date of filing of the petition, or (iii) on any day during the 15-month
                period preceding the date of the filing of the petition. However, because
                the Samson Defendants argue that they had agreements or transactions in
                the requisite amount on the dates of the transfers, as well as on any of the
                dates in the statute, this issue appears moot.

625 B.R. at 302 n.37 (first emphasis in original; second emphasis added).

        Although the Court is correct that Defendants contend that Samson Investment met the

statutory thresholds as of the Transfer Date (as well as the dates mentioned in the statute), it

need not consider whether that is in fact a “measurement date,” or what the measurement would



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be on that date. The Court was correct in its view that satisfaction of the test on any one of the

dates in the statute is sufficient. The Trustee’s expert, Mr. Grove, disputes Mr. Randolph’s

conclusions regarding the values of Samson Investment’s Qualifying Transactions as of the

Transfer Date, but he does not dispute Mr. Randolph’s methodology or conclusions regarding

the Petition Date and August 31, 2015. See Part II.B, supra. Thus, if the Court agrees with

Defendants that one or both of the latter two dates is an appropriate date on which to measure

the value of Samson Investment’s Qualifying Transactions, it will obviate the need for the Court

and the parties to wade into the expert dispute regarding the relevance or value of Samson

Investment’s positions on the Transfer Date.23 Accordingly, the Court should apply the statute

as written and reject the Trustee’s “Transfer Date” theory.

                 c.       Quantification of Qualifying Transactions

         The final question is whether the swap agreements met one of the dollar thresholds set

out in section 101(22A)(A). The statutory dollar value thresholds include, inter alia, “gross

mark-to-market positions of not less than $100,000,000” on either the Petition Date or any day

within the 15 months prior to the Petition Date. There is no genuine dispute that the

$100,000,000 gross mark-to-market value test was met on the Petition Date and on August 31,

2015 (i.e., the end of the month preceding the Petition Date).

         Mr. Randolph reviewed all of Samson Investment’s trade confirmations, the core

evidence of its swap agreements, to determine the material terms of each swap agreement. See

Initial Randolph Decl. ¶ 20. Mr. Randolph determined that Samson Investment’s open positions



23
     To be clear, this Motion does not seek a determination that Samson Investment met the financial
     participant test as of the Transfer Date. If the Court determines, contrary to the plain language of the
     statute, that the Transfer Date is the only applicable measurement date, the Defendants will prove at
     trial that Samson Investment and all of the other Debtor-transferors were financial participants as of
     the Transfer Date.



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in swap agreements on the Petition Date were identical to its open positions on August 31, 2015.

See id. ¶ 22. He concluded that, on the Petition Date and on August 31, 2015, Samson

Investment had gross mark-to-market positions of $123,425,972 and $120,375,991,

respectively. Supp. Randolph Decl. ¶ 7.

       Mr. Randolph’s conclusions are corroborated by “hedge books” maintained by Samson

Investment as of August 31, 2015, and September 30, 2015. Initial Randolph Decl. ¶¶ 21 & 40.

Those hedge books note “net” mark-to-market positions as of August 31, 2015 in excess of

$100 million. Id. ¶ 40 & Ex. J. As Mr. Randolph explains, the “gross” mark-to-market value of

an entity’s positions is necessarily equal to or greater than the “net” mark-to-market value of its

positions. That is because the calculation of “gross” mark-to-market value measures the

absolute value of each of the entity’s positions (i.e., accords equal value to negative and positive

positions), whereas its net position may, in some cases, involve setting off “in the money”

against “out of the money” positions. See id. ¶¶ 30–34. Accordingly, a swap agreement

portfolio with a net mark-to-market value of at least $100,000,000 necessarily has a gross mark-

to-market value of at least $100,000,000. Id.

       Mr. Randolph’s determinations are consistent with what the Debtors themselves advised

the Court in filings that this Court accepted – the Cook Declaration and the Disclosure

Statement – in granting relief, including plan confirmation. Specifically, the Debtors and Mr.

Cook represented that “[a]s of the Petition Date, the hedges were in the Debtors’ favor in an

aggregate amount of approximately $105 million.” Disclosure Statement at 35; accord Cook

Decl. ¶ 54. The Debtors’ statement makes clear that they were quantifying net mark-to-market




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values (“in the Debtors’ favor”), which, as Mr. Randolph explains, means that the gross mark-

to-market value could not be less than those amounts.24

         As noted above, the Trustee’s expert, Mr. Grove, has not disputed Mr. Randolph’s

calculations and conclusions with respect to the Petition Date and August 31, 2015. There

remains as to those calculations no “genuine issue for trial,” 625 B.R. at 305, making them an

appropriate predicate upon which to grant summary judgment.

         4.      The Evidentiary Issues Raised by the Trustee in Connection with the Initial
                 Motion Do Not Preclude Summary Judgment

         In opposition to the Initial Motion, the Trustee identified three issues that supposedly

created an issue of fact as to the value of Samson Investment’s positions on the Petition Date

and on August 31, 2015: (i) the Initial Randolph Declaration did not include certain backup data

that the Trustee claimed he needed to “verify” Mr. Randolph’s calculations; (ii) the Trustee

questioned the authenticity and reliability of the hedge books attached to Mr. Randolph’s Initial

Report; and (iii) the Trustee speculated that Samson Investment might have terminated some of

its swap agreements shortly before the Petition Date. As set forth below, subsequent events

have confirmed what Defendants told the Court nearly two years ago: none of these issues is an

obstacle to summary judgment.

                 a.      Defendants Have Provided to the Trustee All Data Supporting Mr.
                         Randolph’s Calculations

         The Trustee elected not to depose Mr. Randolph in connection with the Initial Motion25

and instead opposed the motion on the basis that the Initial Randolph Declaration was


24
     The Debtors’ statements bind the Trustee, as his “right to assert claims against the Defendants is
     derivative of the rights of the Debtors …. The Trustee succeeds to the rights of the Debtors and is
     bound by the stipulations, admissions and waivers made by the Debtors pre-conversion.” In re Jevic
     Holding Corp., 2021 WL 1812665, at *8 (Bankr. D. Del. May 5, 2021). See also Initial
     Memorandum at 21–22.
25
     See Declaration of David M. Stern [Docket No. 224] ¶¶ 5–6.



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supposedly missing “numerous pieces of factual information necessary to determine Samson

Investment’s mark-to-market positions [,] includ[ing] such necessary information as (1) the

volume of open position Mr. Randolph used to value each contract for both the September 16,

2015 and the August 31, 2015 mark-to-market positions; (2) the market prices Mr. Randolph

used to ascertain the mark-to-market position in each contract; and (3) the LIBOR rate Mr.

Randolph used as the risk-free rate in determining the mark-to-market positions.” Trustee Opp.

¶ 48. The Trustee asserted that “[w]ithout such calculations, the Trustee cannot independently

verify whether Mr. Randolph’s calculations (leaving aside his methodology) are correct or

incorrect.” Id.

       In response to the Trustee’s criticism, Mr. Randolph’s expert report attached four

exhibits that collectively included all of the underlying data Mr. Randolph used to value the

Qualifying Transactions as of the Petition Date and as of August 31, 2015. See Supp. Randolph

Decl. ¶ 4. Those exhibits (as amended solely to address Mr. Randolph’s minor corrections

regarding the Extendible Options) are attached to the Supplemental Randolph Declaration as

Exhibits S94-A through S97-A. See id. ¶¶ 4, 9–11 & Exs. S94-A–S97-A. For each contract that

Mr. Randolph valued, Exhibits S94-A through S97-A collectively display, among other things,

the volume of open position, the market price, and the risk-free rate that Mr. Randolph used to

value such contract. See id. ¶¶ 9–10.

       All of this data was provided to the Trustee on July 27, 2021, with Mr. Randolph’s

expert report, thus giving the Trustee access to all the information needed to “independently

verify whether Mr. Randolph’s calculations (leaving aside his methodology) are correct or

incorrect.” Trustee Opp. ¶ 48. Despite having access to all of this information, the Trustee’s

expert, Mr. Grove, does not dispute (indeed, declined even to discuss) Mr. Randolph’s




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calculations or conclusions with respect to the Petition Date and August 31, 2015. See Part II.B,

supra.

                  b.      The Hedge Books are Authentic, Accurate, and Reliable

          The Trustee criticized Mr. Randolph for relying on “unauthenticated” hedge books to

determine which positions Samson Investment held as of the Petition Date and August 31, 2015.

Trustee Opp. ¶ 50.26 The Trustee stated that “Defendants have not provided any evidence that

these documents – which again have not been produced or even identified[27] – were the final

versions of the documents Defendants claim them to be, how they were prepared, or by whom.”

Id.

          The Trustee’s arguments about the Hedge Books were a sideshow when first raised in

2020, as confirmed by subsequent developments. Mr. Randolph did not rely on the Hedge

Books to calculate the gross mark-to-market value of the Qualifying Transactions. He

determined the terms of Samson Investment’s hedge positions by reviewing the actual trade

confirmations setting forth the terms of each position. See Initial Randolph Decl. ¶¶ 19–20.

Those trade confirmations were obtained from Samson Investment’s counterparties via third-

party discovery and authenticated by custodian declarations.28 Mr. Randolph used the trade




26
      The “hedge books” to which the Trustee referred were the “August Book” and the “September Book”
      (together, the “Hedge Books”), excerpts of which were attached as Exhibit J and Exhibit K,
      respectively, to the Initial Randolph Declaration.
27
      The Hedge Books were both “produced” and “identified” to the Trustee via secure file transfer on or
      about July 12, 2019 (nine months before the Initial Motion was filed). The August Book and the
      September Book were produced by the reorganized debtor, Samson Resources Corporation, and bear
      Bates labels SAMDSUB00058107 and SAMDSUB00058108, respectively. The Bates labels do not
      appear on the excerpts attached to the Initial Randolph Declaration because the files were produced
      natively.
28
      See Initial Kidder Decl. ¶ 4 & Exs. Q–BBB (describing how trade confirmations were obtained from
      third party financial institutions and attaching copies of trade confirmations) & Docket Nos. 172 &
      175 (custodian declarations with respect to trade confirmations).



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confirmations – not the Hedge Books – to determine the nature and terms of Samson

Investment’s Qualifying Transactions. The Hedge Books corroborate Mr. Randolph’s

conclusions, but were not necessary to reach them.

         Nevertheless, it is now indisputable that the Hedge Books are authentic and reliable for

the following reasons:

                The transactions and terms listed in the Hedge Books are consistent with
                 the trade confirmations reviewed by Mr. Randolph. In other words, for
                 each trade, the Hedge Books display the same trade terms (term, volume,
                 etc.) as the applicable trade confirmation itself. This “confirm[s] that [the
                 Hedge Books] accurately record the commercial trade terms of Samson
                 Investment’s open hedge positions ….” Initial Randolph Decl. ¶ 22.

                Subsequent to the Opinion, Sharolyn Whiting-Ralston, General Counsel
                 and Corporate Secretary of the reorganized debtors, signed a custodian
                 declaration authenticating the Hedge Books. See Docket No. 296. Ms.
                 Whiting-Ralston certified under oath that the Hedge Books are “the
                 original or duplicate of the original records in the custody of SRC” and
                 were (i) “made at or near the time of the occurrence of the matters set
                 forth therein by – or from information transmitted by – a person with
                 knowledge of those matters,” (ii) “kept in the ordinary course of SRC’s
                 regularly conducted business activity,” and (iii) making such records was
                 a regular practice of that activity.” Id.

                Subsequent to the Opinion, the Trustee noticed the deposition of Philip
                 Cook, the Chief Financial Officer of Samson Resources Corporation in
                 2015. See Docket No. 268. Mr. Cook confirmed the accuracy of the
                 Hedge Books, testifying that protocols were in place to ensure that the
                 Debtors’ August 31, 2015 hedge book accurately reflected all open trades
                 entered into prior to August 31, 2015, and the September 30, 2015 hedge
                 book accurately reflected all open trades entered into prior to September
                 30, 2015. May 11, 2021 Cook Dep. Tr. (“Cook Transcript”) at 182:9–14
                 & 183:16–20.29


29
     Mr. Cook was involved in “[h]edging strategy and putting hedges on” for Samson Investment and
     was familiar with Samson Investment’s processes for updating and maintaining its hedge books. See
     Cook Transcript at 56:4–19 & 181:18–184:12. He testified that Samson Investment had numerous
     “controls that gave [him] comfort that what was [in the hedge book] was accurate.” Id. at 135:6–20
     (describing how Samson Investment (i) confirmed its hedge book on a monthly basis with its
     counterparties, (ii) deployed personnel from its accounting group and its finance group to ensure that
     the hedge book was accurate; and (iii) “ultimately had auditors that came in and audited our books
     and records and determined that they were correct.”). Mr. Cook also testified that Samson Investment
                                                                                        (footnote continued)


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                 c.      Samson Investment Did Not Terminate Hedging Contracts Between
                         August 31, 2015 and the Petition Date

         Related to the Trustee’s argument about the reliability of the Hedge Books, the Trustee

claimed that “Mr. Randolph’s [Initial] Declaration does not include evidence that the hedging

contracts he relies on were actually open (i.e., not terminated) as of the petition date.” Trustee

Opp. ¶ 49. The Trustee speculated that “[i]t would not be surprising if an insolvent debtor, in

the weeks leading up to a bankruptcy filing, terminated in-the-money swap agreements to

improve its cash position ….” Id.

         The Trustee’s speculation is contrary to all evidence.30 To determine which positions

were open as of the Petition Date (September 16, 2015), Mr. Randolph compared the August

Book (which listed Samson Investment’s positions as of August 31, 2015) to the September

Book (which listed Samson Investment’s positions as of September 30, 2015). See Initial

Randolph Decl. ¶ 22. He confirmed that the (prepetition) August Book and the (postpetition)

September Book showed identical open positions, except for five “Terminated Swaps” that

appeared in the August Book but not the September Book, indicating that the Terminated Swaps

were terminated during the month of September 2015. Id. Multiple undisputed sources of

evidence show that the Terminated Swaps were terminated after the Petition Date (i.e., they

were open as of the Petition Date):



     updated its hedge book contemporaneously when it entered into hedging transactions. See id. at
     135:22–136:2 & 183:3–7. Relevant excerpts of the Cook Transcript are attached to the Supplemental
     Kidder Declaration as Exhibit S106.
30
     It is also legally insufficient to defeat the Motion. “In response to a summary judgment motion, a
     litigant cannot rely on suspicions, simple assertions, or conclusory allegations .… Nor can a
     summary judgment motion be defeated by speculation and conjecture ….” Parker v. Sch. Dist. of
     Phila., 823 F. App’x 68, 72 (3d Cir. 2020) (citations omitted); Bullock v. Brandywine Sch. Dist., 837
     F. Supp. 2d 353, 364 (D. Del. 2011) (“The non-movant’s burden is rigorous: it ‘must point to
     concrete evidence in the record’; mere allegations, conclusions, conjecture and speculation will not
     defeat summary judgment.” (citation omitted)).



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                The 2015 Annual Report of Samson Resources Corporation and
                 Subsidiaries (including Samson Investment) (the “Annual Report”) states
                 that “three counterparties elected to early terminate certain [commodity
                 derivative contracts] shortly after the Bankruptcy Filing ….” Initial
                 Randolph Decl. ¶ 24 & Ex. L. The Annual Report’s reference to “three
                 counterparties” is consistent with the number of counterparties to the
                 Terminated Swaps. Id. ¶ 24;31 see also note 24 (binding effect of
                 statements by Trustee’s predecessor).

                Correspondence from Bank of Montreal, one of the three counterparties to
                 the Terminated Swaps, refers to a “Notice of Event of Default and
                 Designation of Early Termination Date dated September 17, 2015” (i.e.,
                 the day after the Petition Date), which confirms that the Terminated Swap
                 to which Bank of Montreal was the counterparty was open as of the
                 Petition Date. See Initial Kidder Decl., Ex. DD (BMO_000352).

                Mr. Cook testified that he did not recall any terminations of swaps
                 immediately prior to the Petition Date and that Samson Investment did not
                 voluntarily liquidate any of its hedges in the month before the Petition
                 Date. See Cook Transcript at 188:6–13 (noting that liquidation of hedges
                 prior to the Petition Date “would have been counter to everyone’s view”).
                 Mr. Cook did recall at least one counterparty terminating hedges after the
                 Petition Date, see id. at 185:15–21, which is consistent with the Annual
                 Report and the above-referenced Notice of Event of Default from Bank of
                 Montreal dated September 17, 2015.

          All of the foregoing establishes that the open positions reflected in the August Book

remained open as of the Petition Date and were properly included in Mr. Randolph’s calculation

of the gross mark-to-market value of Samson Investment’s hedge positions as of the Petition

Date.32



31
     Although Mr. Cook did not recall during his May 2021 deposition the particulars of post-petition
     hedge terminations, he did testify that he participated in the preparation of the Annual Report and
     believed it was accurate. Cook Transcript at 185:23–187:16.
32
     In any event, even if all of the Terminated Swaps had been terminated before the Petition Date (they
     were not), it would not matter: Even if those agreements are excluded, Samson Investment was party
     to swap agreements with gross mark-to-market value of $101,058,682 (i.e., in excess of the
     $100,000,000 threshold) as of the Petition Date. See Supp. Randolph Decl. ¶ 8. If the Terminated
     Swap with Bank of Montreal (which, as discussed above, was indisputably terminated after the
     Petition Date) is included in the gross mark-to-market calculation and the rest of the Terminated
     Swaps are excluded, the gross mark-to-market value of Samson Investment’s swap agreements was at
     least $103,919,772 as of the Petition Date. See id.



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C.     All of the Challenged Transfers Were Made in Connection with a Securities
       Contract

       To qualify for the safe harbor, a transfer by or to (or for the benefit of) a financial

participant must be made “in connection with a securities contract, as defined in section 741(7).”

11 U.S.C. § 546(e). Section 741(7) provides that a “‘securities contract’ means … a contract for

the purchase, sale or loan of a security ….” The term “security,” in turn, is defined in section

101(49)(A)(ii) to include “stock.”

       In connection with the Initial Motion, the Trustee did not dispute that all of the

challenged transfers, including the Redemption Cash Transfer, were made “in connection with” a

securities contract. Defendants adopt and incorporate by reference the legal argument set out in

pages 27–29 of the Initial Memorandum regarding the “in connection with a securities contract”

prong of the statute and will not belabor the point here. In short, this element is satisfied because

the SPA was, among other things, a promise to sell common stock for money. That is the

essence of a “securities contract.”

       As alleged in the Complaint:

               The Stock Purchase Agreement called for the implementation of the
               transaction through both (1) a stock redemption, in which Samson
               Investment would redeem its own stock owned by the Selling
               Shareholders; and (2) a stock sale, in which the Selling Shareholders
               would sell the remaining stock in Samson Investment to Samson
               Resources Corporation [i.e., Samson Tulip], a newly formed corporation
               formed by the Sponsors to own Samson Investment. The Selling
               Shareholders would ultimately be paid over $6.3 billion in cash, in
               addition to preferred stock with an initial aggregate liquidation preference
               of $180 million.

Complaint ¶ 39; see also id. ¶ 48 (further describing stock redemption by Samson Investment).

       The Redemption Cash Transfer was made “in connection with” the SPA, in that Samson

Investment was contractually obliged to make the transfer by the SPA. See SPA §§ 2.1(a)

(“[E]ach Selling Stockholder agrees to transfer … to the Company in redemption of such Shares,


                                                 23
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a portion of the Shares … owned by such Selling Stockholder as set forth opposite such Selling

Stockholder’s name on Annex A hereto, and the Company shall redeem such Shares[.]”) & 2.2

(providing payment for the stock being tendered and sold pursuant to sections 2.1(a) and 2.1(b)).

Where, as here, the underlying agreement expressly requires the transfer at issue to be made in

exchange for common stock, the “in connection with” prong is satisfied. See, e.g., Sec. Investor

Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 505 B.R. 135, 145 (S.D.N.Y. 2013) (“[T]he

Court concludes that section 546(g)’s requirement that a transfer be made ‘in connection with

any swap agreement’ simply means that the transfer must be related to such an agreement.”).

       Accordingly, the Redemption Cash Transfer was indisputably made “in connection

with” a securities contract.

                           [Remainder of page intentionally left blank]




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                                           V. CONCLUSION

         Section 546(e) immunizes from avoidance any “transfer … made by … a … financial

participant … in connection with a securities contract … that is made before the commencement

of the case ….” Samson Investment was a financial participant by virtue of the swap agreements

to which it was directly a party. As there is no genuine dispute as to the material facts, the Court

should grant the Motion and enter partial summary judgment in Defendants’ on the issue whether

Samson Investment is a financial participant such that any challenged transfers made by it,

including specifically the Redemption Cash Transfer of $2.75 billion, are safe-harbored and,

therefore, unavoidable under section 546(e).33

 March 11, 2022                                        Respectfully submitted,


                                                       /s/ Michael R. Nestor
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33
     Two of the recipients of the $2.75 billion Redemption Cash Transfer – SFTDM and ST 2008 – were
     completely released under the Plan, as set forth in the Release and Non-Transferee MSJ. Assuming
     summary judgment is granted in full in favor of SFTDM and ST 2008 pursuant to the Release and
     Non-Transferee MSJ, the distinct impact of this Motion will be to eliminate approximately $956
     million of the claim against the Foundation (i.e., the portion of the Redemption Cash Transfer that the
     Foundation received), reducing that claim to approximately $1.145 billion. See Complaint ¶ 110; see
     also note 6.



                                                     25
